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                                                                         FILED IN CLERKS OFFICE
                                                                              U.5 D.C. -Atlanta


                        UNITED STATES DISTRICT COURT                         MAR 302020
                        NORTHERN DISTRICT OF GEORGIA
                                                                       JAM    ‘-   .   HAlT   C’erk
                                                                       By;

IN RE: COURT OPERATIONS UNDER
THE EXIGENT CIRCUMSTANCES                             GENERAL ORDER 20-01
CREATED BY COV]D-19 AND RELATED                           AMENDED
CORONA VIRUS

                                          ORDER


       In its General Order 20-0 1. dated March 16, 2020, this Court addressed Court

operations under the exigent circumstances created b the spread of COVED-19 and the

related Coronavirus. General Ordet 20-01 directed that no jurors be summoned in any

Division of the Northern District of Georgia for 30 days from the date of the Order and

continued all jury trials, including any trial specific deadlines, for 30 days pending further

Order of the Court. The Order similarly directed that no grand jurors be summoned and

all grand jury proceedings in the District be continued for 30 days pending further Order

of the Court.

       the exigent circumstances identified in General Order 20-0 1 having worsened

with many citizens within the Northern I)isirict ot Georgia   now   being under state and

local government shelter in place instructions; and additional operations ot’the court

needing to change in recognition ofthese circumstances, and

       [I IS TI ll,RlFORF ORI)lR1D that General Order 20-01 is amended to extend

the specified 30-day time periods contained therein through and including the date of

May 15.2020.
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       IT IS FURThER ORDEREI) that the time period of any continuance entered as a

result of this Order (whether that continuance causes a pre-indictment delay or a pre-trial

delay) shall be excluded under the Speedy Trial Act, 18 U.S.C.      §   3161(h)(7)(A), as the

Court finds that the ends of justice served by taking that action outweigh the interests of

the parties and the public in a speedy trial. Absent further Order of the Court or any

individual judge. the period of exclusion shall be from March 23, 2020, through and

including May 15, 2020. The Court may extend the period of exclusion as circumstances

may warrant. This Order and period of exclusion are incorporated by reference as a

specific finding under 1 8 U.S.C.   §   3161 (h)(7)(A) in the record of each pending case

where the Speedy Trial Act applies. See Zedner v. United States, 547 [1.5. 489, 506-07

(2006). The period of exclusion in this Court’s prior General Order 20-0 1 on this subject

is likewise incorporated by reference as a specific finding under 1 8 U.S.C.     §
3l61(h)(7)(A) in the record of each pending case where the Speedy i’rial Act applies.

       IT IS ThEREFORE ORI)ERED that General Order 20-01 is amended to extend

the specified 30-day time periods contained therein through and including the date of

May 15. 2020.

       1)ated this   .   day ot March 2t)20.



                                        THOIVIAS W. THRASH, JR.
                                        CHIEF UNITED STATES DISTRICT JUDGE
